Name &Case
        Address:
             5:15-cr-00093-JGB Document 175 Filed 07/11/19 Page 1 of 1 Page ID #:1420
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA                                  CASE NUMBER:

                                                                            5:15-cr-00093-JGB
                                           PLAINTIFF(S)
                   v.
ENRIQUE MARQUEZ, Jr.                                               NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

PLEASE TAKE NOTICE:
       Pursuant to Local Rule 5-4.2, the following document(s) or item(s) are exempt from electronic filing,
and will therefore be manually ✔ Filed          Lodged : (List Documents)
Defendant's objection to Government's ex parte application for disclosure
Defense counsel's declaration in support of defense objection
Ex parte application for filing under seal
Proposed order for filing under seal




Reason:
✔     Under Seal
      In Camera
      Items not conducive to e-filing (i.e., videotapes, CDROM, large graphic charts)
      Per Court order dated:
      Other:




July 10, 2019                                              John N. Aquilina
Date                                                       Attorney Name
                                                           Defendant, Enrique Marquez, Jr.
                                                           Party Represented


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G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
